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                          UNITED STATES DISTRICT COURT FOR
                              THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                              :
                                                      :
 v.                                                   :      Criminal Case No. 22-cr-15 (APM)
                                                      :
KENNETH HARRELSON                                     :       Previously Included in
                                                      :
                                     Defendant        :      Case No. 21-cr-28 (APM)
                                                      :

                           NOTICE OF JOINDER OF ECF No. 496

      NOTICE OF JOINDER OF ECF No. 496 The Defendant, Kenneth Harrelson, by and through

counsel, Bradford L. Geyer, Esq., hereby notifies the Court that she joins Defendant Elmer Stewart

Rhodes’s Motion it to Continue Sentencing Deadlines and All Related Deadlines filed as ECF No.

496, and hereby moves the Court to consider Rhodes’s motion as if the motion had been filed by

Harrelson directly. As a point of note, the same factors that impacted Rhodes detention and

unavailability also impact Harrelson who was transferred from the DC Corrections system back

into a Bureau of Prisons facility.



Dated: April 3, 2023                                 RESPECTFULLY SUBMITTED
                                                     KENNETH HARRELSON, By Counsel

                                                     /s/ Brad Geyer

                                                     Bradford L. Geyer, PHV
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                                                     NJ 022751991
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                                 CERTIFICATE OF SERVICE



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        I hereby certify that on April 3, 2023, a true and accurate copy of the forgoing was
electronically filed and served through the ECF system of the U.S. District Court for the District
of Columbia.

                                      /s/ Brad Geyer
                                      Bradford L. Geyer, PHV
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